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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS


 IN RE SURECRIPTS ANTITRUST
 LITIGATION                                         Civil Action No. 1:19-cv-06627

                                                    Judge John J. Tharp Jr.
 This Document Relates To:
                                                    Magistrate Judge Susan E. Cox
 All Class Actions


      ORDER GRANTING PLAINTIFFS’ MOTION FOR FINAL APPROVAL OF
             SETTLEMENT WITH DEFENDANT RELAYHEALTH

        This Court has held a hearing on Plaintiffs’ Motion for Final Approval of the Settlement

 with Defendant RelayHealth. Plaintiffs have entered into a Settlement Agreement with

 Defendant RelayHealth (“Settling Defendant”). The Court, having reviewed the Motion, its

 accompanying memorandum, and the exhibits thereto, the Settlement Agreement, and all papers

 filed, hereby finds that the motion should be GRANTED as to the settlement with Settling

 Defendant.

        NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.     The Court has jurisdiction over the subject matter of this litigation, including the

actions within this litigation, and over the parties to the Settlement Agreement, including all

members of the Settlement Class (also referred to herein as the “Class”) and the Settling

Defendant.

       2.     For purposes of this Order, except as otherwise set forth herein, the Court adopts

and incorporates the definitions contained in the Settlement Agreement.




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        3.      Pursuant to Fed. R. Civ. P. 23(g), Interim Co-Lead Counsel previously appointed

by the Court is appointed as Co-Lead Counsel for the Settlement Class as they have and will fairly

and competently represent the interests of the Settlement Class.

        4.      Pursuant to Federal Rule of Civil Procedure 23, the Court determines that the

following Settlement Class be certified solely for the purposes of the Settlement:

        All pharmacies in the United States and its territories who paid for e-prescriptions
        routed through the Surescripts network during the period September 21, 2010
        through the date of Preliminary Approval.

        5.      The Court further finds that the prerequisites to a class action under Rule 23 are

satisfied solely for settlement purposes in that: (a) there are hundreds of geographically dispersed

class members, making joinder of all members impracticable; (b) there are questions of law and

fact common to the class that predominate over individual issues; (c) the claims or defenses of the

plaintiffs are typical of the claims or defenses of the Settlement Class; (d) the plaintiffs will fairly

and adequately protect the interests of the Settlement Class, and have retained counsel experienced

in antitrust class action litigation who have, and will continue to, adequately represent the

Settlement Class; (e) common issues of law and fact predominate; and (f) a class action is superior

to individual actions.

        6.      The Court hereby finally approves the Settlement Agreement and its terms and

finds that said Settlement is, in all respects, fair, reasonable, and adequate to the Settlement Class

pursuant to Rule 23 of the Federal Rules of Civil Procedure and directs consummation of the

Settlement Agreement according to its terms and conditions.

        7.      The Court affirms its certification of the Settlement Class in its order granting

preliminary approval of the proposed settlement. (ECF No. 175).

        8.      This Court hereby dismisses on the merits and with prejudice all Claims in the




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above action against the Settling Defendant, with each party to bear its own costs and fees,

including attorneys’ fees, except as provided in the Settlement Agreement.

       9.      The Releases in the Settlement Agreement are incorporated herein and the

Releasing Parties shall, by operation of law, be deemed to have released all Released Parties from

the Released Claims. All entities who are Releasing Parties (as defined in the Settlement

Agreement) or who purport to assert claims on behalf of the Releasing Parties are hereby and

forever barred and enjoined from commencing, prosecuting, or continuing, against the Released

Parties, in this or any other jurisdiction, any and all claims, causes of action or lawsuits, which

they had, have, or in the future may have, arising out of or related to any of the Released Claims

as defined in the Settlement Agreement.

       10.     The Released Parties are hereby and forever released and discharged with respect

to any and all claims or causes of action which the Releasing Parties had, have, or in the future

may have, arising out of or related to any of the Released Claims as defined in the Settlement

Agreement.

       11.     The notice given to the Settlement Class, including individual notice to all members

of the Settlement Class who could be identified through reasonable efforts, was the most effective

and practicable under the circumstances. This notice provided due and sufficient notice of the

proceedings and of the matters set forth therein, including the proposed settlement, to all persons

entitled to such notice, and this notice fully satisfied the requirements of Rules 23(c)(2) and

23(e)(1) of the Federal Rules of Civil Procedure and the requirements of due process.

       12.     No member of the Settlement Class objected to the Settlement.

       13.     As set forth in the notice to the Settlement Class, at this time Co-Lead Counsel are

not seeking attorneys’ fees, reimbursement of litigation expenses, or class representative incentive




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awards, or to distribute Settlement proceeds to qualified claimants; when Co-Lead Counsel

determine to do so, they will notify the Settlement Class and seek the Court’s approval.

         14.   Any member of the Settlement Class who failed to timely and validly request to be

excluded from the Settlement Class shall be subject to and bound by the provisions of the

Settlement Agreement, the Released Claims contained therein, and this Order with respect to all

Released Claims, regardless of whether such members of the Class seek or obtain any distribution

from the Settlement Fund. Only one entity has requested to be excluded from the Settlement

Class.

         15.   Without affecting the finality of this Final Judgment in any way, this Court hereby

retains continuing exclusive jurisdiction over: (a) consummation, administration and

implementation of the Settlement Agreement and any allocation or distribution to Settlement

Class members pursuant to further orders of this Court; (b) disposition of the Settlement Fund;

(c) hearing and determining applications by Plaintiffs for attorneys’ fees, costs, expenses, and

interest; (d) the actions in this litigation until the Final Judgment has become effective and each

and every act agreed to be performed by the parties all have been performed pursuant to the

Settlement Agreement; (e) hearing and ruling on any matters relating to any plan of allocation or

distribution of proceeds from the Settlement; (f) the parties to the Settlement Agreement for the

purpose of enforcing and administering the Settlement Agreement and the releases contemplated

by, or executed in connection with the Settlement Agreement; (g) the enforcement of this Final

Judgment; and (h) over any suit, action, proceeding, or dispute arising out of or relating to the

Settlement Agreement or the applicability of the Settlement Agreement, that cannot be resolved

by negotiation and agreement.

         16.   The Settling Defendant has served upon the appropriate state officials and the




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appropriate federal official notice under the Class Action Fairness Act, 28 U.S.C. § 1715

(“CAFA”).

       17.     The Court finds, pursuant to Rules 54(a) and (b) of the Federal Rules of Civil

Procedure, that judgment should be entered and further finds that there is no just reason for delay

in the entry of final judgment as to the parties to the Settlement Agreement. Accordingly, the

Clerk is hereby directed to enter this Final Judgment forthwith.


        IT IS SO ORDERED.



 DATED: February 24, 2022
                                                     JOHN J. THARP, JR.
                                                     United States District Judge




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